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EXHIBIT 1
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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF CONNECTICUT


VICTOR JOSE VELASCO                                   CIVIL NO. 3:11-cv-463(JCH)


      V.


LIEUTENANT HARPIN, ET AL.                             DECEMBER 18, 2017


                         DECLARATION OF DAWN DICESARE


Undersigned hereby declares:


   1. I am a paralegal in the Legal Affairs Unit of the Department of Correction (DOC)

      of the State of Connecticut.

   2. Following the court's Ruling on Motions to Compel [Doc.96] dated November 20,

      2017, I undertook a review of the DOC personnel files of the Defendants in this

      case: John Alves, Daniel Dougherty, Damian Doran, Greg Harpin and

      Christopher Sweet. I reviewed all performance appraisals and all other

      documents in their personnel files for any reference to "allegations that defendant

      deprived an inmate of a fair investigation and hearing" or "improperly designated

      an inmate as a security risk group threat member'' for the period of time 2010 to

      present. I had previously searched the DOC Disciplinary Log for any reference to

     any of the Defendants as set forth in my Declaration of November 9, 2017, which

      is filed in this case as Doc. 95-2.

  3. The sources of performance evaluations referencing non-disciplinary resolutions

     of matters related to the defendants in this action that are maintained by the


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       Department of Correction would be the official DOC personnel files and official

       DOC disciplinary files on each defendant as well as the DOC Discipline Log. That

       review has been thoroughly completed as described above.

   4. Based on my review as described above, there are no disciplinary records or

       performance evaluations of any of the Defendants for the time period 2010 to the

       present which contain any allegation that any of them deprived an inmate of a fair

       investigation and hearing or improperly designated an inmate as a security risk

      group threat member.


I declare, pursuant to 28 U.S.C. sec. 1746, under penalty of perjury, that the foregoing

declaration is true and accurate.


Executed on December 18, 2017.




Dawn M. Dicesare




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